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                       UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF OHIO
                              EASTERN DIVISION

 JAMES MCCORD,                                )
                                              )      CIVIL COMPLAINT
        Plaintiff,                            )
                                              )
 v.                                           )      Case No. 2:20-cv-3692
                                              )
 ALPHA RECOVERY CORP.,                        )
                                              )
       Defendant.                             )      JURY TRIAL DEMANDED
                                              )
                                              )

                                      COMPLAINT

       Now comes JAMES MCCORD (“Plaintiff”), complaining as to ALPHA

RECOVERY CORP., (“Defendant”).

                                 NATURE OF THE ACTION

       1.     Plaintiff brings this action pursuant to the Fair Debt Collection Practices

Act (“FDCPA”) under 15 U.S.C. § 1692 et seq. and the Ohio Consumer Sales Practices

Act (“CSPA”) under Ohio Rev. Code Ann. § 1345 et seq.

                                JURISDICTION AND VENUE

       2.     Subject matter jurisdiction is conferred upon this Court by 28 U.S.C. §§

1331 and 1337 as the action arises under the laws of the United States. Supplemental

jurisdiction exists for the state law claims pursuant to 28 U.S.C. § 1367.

       3.     Venue is proper pursuant to 28 U.S.C. § 1391 as a substantial portion of

the events giving rise to the claims occurred within this District.




                                            [1]
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                                         PARTIES

       4.     Plaintiff is a natural person residing in or around Columbus, Ohio.

       5.     Defendant is a Colorado corporation registered with the Ohio Secretary of

State to do business in Ohio.

                         FACTS SUPPORTING CAUSES OF ACTION

       6.     Plaintiff incurred a debt of between two and three thousand dollars to an

entity known as “First Credit Corp.”

       7.     Plaintiff incurred this debt in order to pay for everyday living expenses.

       8.     After the debt went into default, Defendant received the account and

began to attempt to collect upon it.

       9.     In mid-July, Plaintiff received a phone call from Defendant.

       10.    Defendant used the phone number 614-502-5459 to place the call.

       11.    Plaintiff answered the phone and spoke with Defendant’s employee.

       12.    Defendant’s employee refused to tell Plaintiff the name of Defendant.

       13.    Eventually, Defendant’s employee hung up on Plaintiff without having

ever provided Plaintiff with the name of Defendant.

       14.    Plaintiff called the number back and spoke with a manager.

       15.    Plaintiff explained that the employee he had initially spoken with had

refused to provide him with the name of the company.

       16.    Defendant’s manager indicated that Defendant trains its employees to act

this way.




                                           [2]
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       17.    Plaintiff explained to the manager that he wished to speak with a lawyer

before paying on the debt at issue.

       18.    The manager became irate.

       19.    The manager began to berate Plaintiff, making statements to the effect that

Plaintiff must be the type of person who would not want to resolve his debts.

       20.    Plaintiff has been injured by Defendant’s conduct.

       21.    Plaintiff was first injured by Defendant’s employee declining to provide

him with Defendant’s name because he was unable to readily discovery what company

called him.

       22.    The number Defendant used to call him begins with the prefix “614,”

which caused Plaintiff to believe that a local company had called him.

       23.    Plaintiff was later surprised to learn that he was called by a company in

Colorado.

       24.    Plaintiff was further injured by the manager’s conduct in berating him, as

this interaction left Plaintiff with a sense of unease and uncertainty.

       25.    On July 20, 2020, Plaintiff retained Hilton Parker LLC to represent him.

       26.    On July 21, 2020, Plaintiff received a call from Defendant.

       27.    Defendant’s employee asked Plaintiff how he intended to resolve the debt.

       28.    Plaintiff stated he needed to speak with his attorney first.

       29.    Defendant did not ask Plaintiff for the name and address of Plaintiff’s

attorney, which Plaintiff would have provided upon request.

       30.    Defendant instead continued to pressure Plaintiff into making a payment.

                                            [3]
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         COUNT I—VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT

       31.      Plaintiff realleges the paragraphs above as though fully set forth herein.

       32.      Plaintiff is a “consumer” as defined by 15 U.S.C. § 1692a(3) of the FDCPA.

       33.      Defendant is a “debt collector” as defined by § 1692a(6) of the FDCPA

because the principal purposes of its business is the collection of debts, and because it

uses the instrumentalities of interstate commerce to do so.

       34.      In the alternative, Defendant is a “debt collector” under § 1692(a)(6)

because it regularly collects or attempt to collect, directly or indirectly, debts owed or

due or asserted to be owed or due another.

       35.      The subject debt is a “debt” as defined by FDCPA § 1692a(5) because the

debt owed or due or asserted to be owed or due to another arises out of a transaction for

personal, family, or household purposes, being in this case an account used to pay for

everyday living expenses.

       36.      Defendant violated the FDCPA in the following ways:

             a. Continuing to attempt to pressure Plaintiff into making a payment after

                Defendant knew or should have known that Plaintiff was represented by

                an attorney with respect to the debt, when Defendant could have readily

                ascertained the attorney’s name and address by asking for it;

             b. Placing a telephone call to Plaintiff without meaningfully disclosing its

                identity, in violation of § 1692d generally and § 1692d(6)—especially in

                light of the fact that Defendant, a Colorado corporation, called from a local

                “614” number;

                                             [4]
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             c. Berating Plaintiff when Plaintiff indicated that he wanted to speak with an

                attorney, which constitutes “conduct the natural consequence of which is

                to harass, oppress, or abuse any person in connection with the collection

                of a debt.”

         COUNT II—VIOLATIONS OF THE OHIO CONSUMER SALES PRACTICES ACT

       37.      Plaintiff realleges the paragraphs above as though fully set forth herein.

       38.      The CSPA, pursuant to R.C. 1345.02(A), states that “[n]o supplier shall

commit an unfair or deceptive practice in connection with a consumer transaction.”

       39.      Plaintiff is a “person” as defined by R.C. 1345.01(B).

       40.      Defendant is a “supplier” as defined by R.C. 1345.01(C). Taylor v. First

Resolution Invest. Corp., 72 N.E.3d 573, 600 (Ohio 2016), cert. denied sub nom. First

Resolution Inv. Corp. v. Taylor-Jarvis, 137 S. Ct. 398 (2016).

       41.      Debt collection is a “consumer transaction” as defined by R.C. 1345.01(A).

       42.      R.C. §1345.09(B) thus grants Plaintiff a private right of action against

Defendant for $200 per violation of the CSPA, plus noneconomic damages of up to

$5,000 per violation in an amount to be determined at trial, plus attorney fees.

       43.      Defendant committed unfair or deceptive acts or practices in violation of

the CSPA, R.C. 1345.02(A), when Defendant engaged in acts and practices in violation

of the FDCPA as set forth above.

       44.      Such acts and practices have been previously determined by Ohio courts

to violate the CSPA, R.C. 1345.01 et seq. See, e.g., Kelly v. Montgomery Lynch & Assocs.,

Inc., No. 1:07-CV-919, 2008 WL 1775251, at *11 (N.D. Ohio Apr. 15, 2008) (“[A]ny

                                              [5]
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violation of any one of the enumerated sections of the FDCPA is necessarily an unfair

and deceptive act or practice in violation of R.C. § 1345.02 and/or § 1345.03”).

      45.    Defendant committed such actions after such decisions were available for

public inspection pursuant to R.C. 1345.05(A)(3).

WHEREFORE, Plaintiff respectfully requests judgment as follows:

      a.     Awarding Plaintiff statutory damages of $1,000.00 as provided under

      15 U.S.C. § 1692k(a)(2)(A);

      b.     Awarding Plaintiff actual damages as provided under 15 U.S.C. §

      1692k(a)(1);

      c.     Awarding Plaintiff costs and reasonable attorney fees as provided under

      15 U.S.C. § 1692k(a)(3);

      d.     Awarding Plaintiff statutory, actual, treble and/or punitive damages plus

      attorney fees for each and every violation of the CSPA; and

      e.     Awarding Plaintiff injunctive relief pursuant to the CSPA.

A TRIAL BY JURY IS DEMANDED.

Dated: July 21, 2020


                                             By: s/ Jonathan Hilton

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